Case 2:23-cv-02007-JTF-atc Document 1-4 Filed 01/04/23 Pageiofi PagelD 16

Form date: 06/08/2021

NOTICE TO INMATE;

FCI/SPC MEMPHIS, TENNESSEE
ATTEMPT AT INFORMAL RESOLUTION FORM

for Administrative Remedy, BP-229(13)

your complaint through your Correcti
below and list what effort you have made to resolve y

1. Informal Resolution Form Issued by:

2. Inmate Name DAV BAKEL

INMATE'S COMMENTS,

You are advised that

onal Counselor.

ow

Number 2 576 $- Seq

(Inmate MUST COMPLETE Items 2, 3, 4, 5 and 6)

 

 

Exhibit D

 

 

prior to receiving and filing a Request
, you should attempt to informally resolve
Briefly, state complaint
our complaint informally,

h-
Unit 7S

3. Complaint: MY F£ipsr sytp AcT CKEIZTS (oVER 300 20 6seD TINE
REFLECTED La mY

DATS oF £ mY KECEME PAE) ME MET
WIR MY Le6AL
60D TImHEk Pe

LAPLER
(EAw HAS 66rDkO me yo AfQuEsT THAT MF
ACREDTTED Awd UPPATED., © AM nakins

 

CECPIES OFF THESE OD Siy dive some 70 Zur  LbAw SERS.

ies, 4c,
4. Efforts made to resolve and list staff contacted: SCALEEF |_ LEMOS Rsow Wt 27, a
5. What remedy are you seeking? 300~ 365 DATL OFF MY Petey ALE.

PATE AS PER THE

 

FLRST STEP ACT. Atso

BPT, BIO, BEM

AWD WMABEAS PErxrren Prep yo bidue faze Fae OW ELAR ¥

RESTLT WG LOW’

Staff response

AdoheDd gf

DOBYUEN TATIan Vv oF

6. Inmate Signature: ch) g Bh

7, COMMENTS :

(To be completed by staff only)

Laint: Upv Aves)

to com
ie Reve a. ES 4

ol- 0(- 702 Y,

FSA  Geab Tract

Date returned: §/ /3 fod.

ore,

Dogs of Fsa bc Lies,

lemse, Sale of

 

 

 

8. Date informally resolved:

9. Signature:

Correctional Counselor

Date BP~229 (13) issued;

slular

AW)

Uhit Managar

Date
